Nebraska Supreme Court Online Library
www.nebraska.gov/apps-courts-epub/
03/22/2019 08:06 AM CDT




                                                          - 188 -
                                  Nebraska Supreme Court A dvance Sheets
                                          302 Nebraska R eports
                                 STATE EX REL. COUNSEL FOR DIS. v. JORGENSON
                                               Cite as 302 Neb. 188



                          State     of     Nebraska ex rel. Counsel for Discipline
                                of the       Nebraska Supreme Court, relator,
                                        v. Jeremy C. Jorgenson, respondent.
                                                      ___ N.W.2d ___

                                          Filed February 8, 2019.   No. S-17-1028.

                1.	 Disciplinary Proceedings: Appeal and Error. Because attorney disci-
                    pline cases are original proceedings before the Nebraska Supreme Court,
                    the court reviews a referee’s recommendations de novo on the record,
                    reaching a conclusion independent of the referee’s findings.
                2.	 Disciplinary Proceedings. The basic issues in a disciplinary proceed-
                    ing against an attorney are whether discipline should be imposed and,
                    if so, the appropriate discipline evaluated under the particular facts and
                    circumstances of the case.
                3.	 ____. To determine whether and to what extent discipline should be
                    imposed in an attorney discipline proceeding, the Nebraska Supreme
                    Court considers the following factors: (1) the nature of the offense, (2)
                    the need for deterring others, (3) the maintenance of the reputation of
                    the bar as a whole, (4) the protection of the public, (5) the attitude of the
                    respondent generally, and (6) the respondent’s present or future fitness
                    to continue in the practice of law.
                4.	 ____. For purposes of determining the proper discipline of an attor-
                    ney, the Nebraska Supreme Court considers the attorney’s actions both
                    underlying the events of the case and throughout the proceeding, as well
                    as any aggravating or mitigating factors.
                5.	 Judgments: Records: Judicial Notice. A court has the right to examine
                    its own records and take judicial notice of its own proceedings and judg-
                    ments in a former action.
                6.	 Disciplinary Proceedings. The Nebraska Supreme Court has generally,
                    but not always, disbarred attorneys who continue to practice law despite
                    their suspensions.
                7.	 ____. Repeatedly ignoring requests for information from the Counsel
                    for Discipline indicates a disrespect for the Nebraska Supreme Court’s
                                     - 189 -
              Nebraska Supreme Court A dvance Sheets
                      302 Nebraska R eports
             STATE EX REL. COUNSEL FOR DIS. v. JORGENSON
                           Cite as 302 Neb. 188
      disciplinary jurisdiction and a lack of concern for the protection of the
      public, the profession, and the administration of justice.
 8.	 ____. The Nebraska Supreme Court considers an attorney’s failure to
      respond to inquiries and requests for information from the Counsel for
      Discipline as an important matter and as a threat to the credibility of
      attorney disciplinary proceedings.
  9.	 ____. A history of violating disciplinary rules and a history of failing to
      communicate with clients, courts, and the Counsel for Discipline repre-
      sent a pattern of noncompliance with disciplinary rules, and cumulative
      acts of attorney misconduct are distinguishable from isolated incidents,
      therefore justifying more serious sanctions.
10.	 ____. Cumulative acts of attorney misconduct can, and often do, lead
      to disbarment.
11.	 ____. Remorse is a mitigating factor when considering the appropriate
      sanction in an attorney disciplinary proceeding.
12.	 Disciplinary Proceedings: Proof. To establish depression as a miti-
      gating factor in a proceeding to discipline an attorney, the attorney is
      required to show (1) medical evidence that he or she is affected by
      depression, (2) that depression was a direct and substantial contributing
      cause to the misconduct, and (3) that treatment of the depression will
      substantially reduce the risk of further misconduct.
13.	 ____: ____. The Nebraska Supreme Court will apply the issue of sub-
      stance abuse as a mitigating factor in an attorney disciplinary proceed-
      ing only after the attorney presents evidence that he or she acknowl-
      edges the condition, voluntarily seeks treatment, and terminates use of
      the substance.
14.	 Disciplinary Proceedings. The purpose of a disciplinary proceeding
      against an attorney is not so much to punish the attorney as it is to
      determine whether it is in the public interest that an attorney be permit-
      ted to practice, which question includes considerations of the protection
      of the public.
15.	 ____. The propriety of a sanction must be considered with reference to
      the sanctions imposed in prior similar cases.

   Original action. Judgment of disbarment.
   Julie L. Agena, Assistant Counsel for Discipline, for relator.
   No appearance for respondent.
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.
                            - 190 -
          Nebraska Supreme Court A dvance Sheets
                  302 Nebraska R eports
          STATE EX REL. COUNSEL FOR DIS. v. JORGENSON
                        Cite as 302 Neb. 188
   Per Curiam.
   This is an attorney discipline case against Jeremy C.
Jorgenson stemming from violations occurring after Jorgenson
was administratively suspended from the practice of law in
Nebraska for failing to satisfy mandatory continuing legal edu-
cation (MCLE) reporting requirements. Formal charges were
filed against Jorgenson, claiming violations of Neb. Ct. R.
§ 3-316 (rev. 2014) (notification requirements by disbarred or
suspended members) and Neb. Ct. R. of Prof. Cond. §§ 3-501.4
(communications), 3-501.16 (declining or terminating repre-
sentation), 3-505.5 (rev. 2012) (unauthorized practice of law),
3-508.1 (bar admission and disciplinary matters), and 3-508.4
(rev. 2016) (misconduct), as well as his oath of office as an
attorney as provided by Neb. Rev. Stat. § 7-104 (Reissue
2012). Jorgenson admitted the charges, a judgment on the
pleadings was entered, and a hearing on the question of appro-
priate sanctions was held before an appointed referee. The
referee’s report following this hearing recommended Jorgenson
be disbarred. Upon our de novo review and for the reasons set
forth herein, we agree with the referee’s recommendation and
conclude that disbarment is the proper sanction.
                       BACKGROUND
   Jorgenson was admitted to the practice of law in Nebraska
on April 15, 2008. At all relevant times, he was engaged in
the practice of law in Nebraska. Between December 2016 and
July 2017, Jorgenson was also practicing law in Illinois, where
he had moved. In July, Jorgenson apparently moved back to
Nebraska but has failed to provide updated contact information
to the Attorney Services Division or the Counsel for Discipline
since that time.
                 Previous Disciplinary Actions
   Jorgenson has previously been the subject of two discipli­
nary cases and one administrative suspension in Nebraska. In
the first action in October 2012, Jorgenson received a public
reprimand and was placed on probation for 1 year due to a
                                      - 191 -
                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
                STATE EX REL. COUNSEL FOR DIS. v. JORGENSON
                              Cite as 302 Neb. 188
violation relating to contingent fee agreements.1 In the second
action, Jorgenson was disciplined for failing to provide com-
petent and diligent representation to a client when he failed to
appear for oral arguments at the U.S. Court of Appeals for the
Eighth Circuit, failed to adequately supervise his support staff,
and failed to timely respond to demands for information from
the Counsel for Discipline.2 In that case, Jorgenson was indefi-
nitely suspended in February 2018 from the practice of law in
Nebraska, with a minimum suspension of 2 years. Finally, and
relevant to the present violations, Jorgenson was the subject of
an administrative suspension commencing June 14, 2017, for
failure to fulfill his MCLE requirements for 2016. Although
Jorgenson testified in the present case that he completed his
MCLE for 2016, no substantive evidence regarding completion
of those requirements was submitted.
                       Formal Charges
   In the present action, Jorgenson admitted to all the allega-
tions within the formal charges with the exception of one sen-
tence, which was subsequently withdrawn. Therefore, the facts
alleged are uncontested and may be taken as true.
   The amended formal charges contain five counts. Count I
alleges Jorgenson continued to practice law by filing pleadings
for a client in Douglas County Court after his administrative
suspension. These pleadings included a “Plea of Not Guilty/
Waiver of Appearance/Appearance of Counsel” on the client’s
behalf on July 7, 2017. Jorgenson failed to notify this client
in writing that he had been suspended, failed to assist the cli-
ent with obtaining new representation, and failed to promptly
refund all client funds and provide a full accounting. These
failures continued after he was contacted by the client’s new
counsel in early August.

 1	
      State ex rel. Counsel for Dis. v. Jorgenson, 284 Neb. 507, 822 N.W.2d 367      (2012).
 2	
      State ex rel. Counsel for Dis. v. Jorgenson, 298 Neb. 855, 906 N.W.2d 43      (2018).
                              - 192 -
           Nebraska Supreme Court A dvance Sheets
                   302 Nebraska R eports
           STATE EX REL. COUNSEL FOR DIS. v. JORGENSON
                         Cite as 302 Neb. 188
   Count II alleges that during his administrative suspension,
Jorgenson represented a client in a criminal matter in Merrick
County District Court who had entered a guilty plea and was
scheduled to be sentenced on August 7, 2017. Jorgenson failed
to attend the sentencing hearing and notified the client by text
message on the morning of the hearing that he was suspended.
Jorgenson failed to notify the client in writing that his license
had been suspended, failed to assist the client in obtaining
new representation, and failed to file an affidavit with this
court to attest his compliance with § 3-316 of the discipli­
nary rules.
   Count III alleges that Jorgenson failed to cooperate with the
formal investigation conducted by the Counsel for Discipline
into the matters involving his representation of clients after his
administrative suspension.
   Count IV alleges that Jorgenson was hired in November
2016 to represent an individual in a legal matter for which
Jorgenson was paid $1,500. Jorgenson failed to notify his cli-
ent about his administrative suspension and failed to appear for
a scheduled court appearance on July 11, 2017. Additionally,
Jorgenson failed to notify his client in writing that he was
suspended, failed to assist his client in obtaining new represen-
tation, failed to promptly refund all client funds and provide
a full accounting, failed to file an affidavit with this court to
attest his compliance with § 3-316, and failed to cooperate
with the formal investigation conducted by the Counsel for
Discipline and provide any of the requested information.
   Count V alleges that after Jorgenson’s administrative sus-
pension, he continued to email attorneys and other individuals
using a signature block on emails which purported he was a
part of a law partnership in Omaha, Nebraska.
             Discipline Hearing Before R eferee
  At the hearing before the referee, three exhibits were sub-
mitted and testimony was taken. Exhibit 1 was a copy of the
June 14, 2017, letter from this court advising Jorgenson that he
was suspended from the practice of law for failure to satisfy
                                     - 193 -
                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
               STATE EX REL. COUNSEL FOR DIS. v. JORGENSON
                             Cite as 302 Neb. 188
the MCLE reporting requirements for 2016. Exhibit 2 was a
copy of the 2012 disciplinary opinion.3 Exhibit 3 was a copy
of the 2018 disciplinary opinion.4 Jorgenson was the only wit-
ness called to testify, and he was called to do so by the Counsel
for Discipline.
   During his testimony, Jorgenson addressed various aspects
of the admitted allegations from the amended formal charges.
First, Jorgenson testified about when he received notice that
he was administratively suspended and stated that “there was a
gap between my suspension [on June 14, 2017,] and me having
knowledge of it, and, yes, during that gap, there were things
that I was filing.” On this subject, Jorgenson also responded to
questioning from the Counsel for Discipline that he had learned
his license was administratively suspended “[s]hortly before”
he talked to the Counsel for Discipline on the telephone, which
occurred “somewhere right around the 4th of July weekend,
maybe after the 4th or 6th of July [in 2017].”
   Jorgenson also testified to his remorse and embarrassment
for the violations. Jorgenson testified that his life was in disar-
ray both personally and professionally after being involved in
a highly publicized murder trial and his decision to thereaf-
ter move to Illinois. Additionally, Jorgenson was undergoing
marital discord when his wife moved to another state with their
children, precipitating an ensuing custody battle. Jorgenson
testified that he was severely depressed and drinking “a lot,”
which attributed to the acts and omissions leading to the viola-
tions. When asked about how he is addressing the depression
and alcohol issues, Jorgenson responded:
         A. Yeah, I . . . have not been drinking since [my son]
      broke his arm, which is — I’m not really afraid to talk
      about it at all, to be honest with you, I — you know,
      what happened was an accident. You know, the Juvenile
      Court system, the social workers, the visitation workers,

 3	
      See Jorgenson, supra note 1.
 4	
      See Jorgenson, supra note 2.
                              - 194 -
           Nebraska Supreme Court A dvance Sheets
                   302 Nebraska R eports
           STATE EX REL. COUNSEL FOR DIS. v. JORGENSON
                         Cite as 302 Neb. 188
     the caseworkers, every — everyone believes that this is a
     substance abuse case, alcohol, primarily, for me . . . not
     a child abuse case. But since that happened, I’ve been
     sober. Since that happened, I’ve been attending AA, not
     — you know, hit-and-miss a little bit. I think it’s just sort
     of my personality, it’s hard, AA is tough for me because
     I just can decide to do or not do something. . . . I have a
     diagnostic assessment for both chemical dependency and
     mental health, which recommended outpatient, so group
     meetings, and then individual therapy. I’m doing some
     individual therapy. . . .
        Q. So, for the alcohol problem that you’ve admitted
     that you have, you’ve stopped drinking, you’re going to
     some AA meetings. Have you gotten any treatment, or is
     it — that’s the therapy for mental health, or is it for both?
        A. So the, the — there is a group meeting component,
     which deals with the substance abuse.
        Q. So it’s more dual diagnosis then?
        A. Yeah, yeah, I mean . . . when I went to the evalua-
     tion, I was as honest as I’m being here, that, you know,
     I don’t think I had ever admitted — I didn’t think I had
     a drinking problem, you know? I mean, I — I’ve been,
     like, a daily drinker for a very long time, but never a lot,
     you know, I mean, until [these issues with my wife], and,
     and I didn’t even really recognize it myself, but I started
     progressing — or drinking more and more, and, at some
     point, you know, I’m waking up and drinking and, and it
     still didn’t occur to me that, I thought, like, well, this is
     how you can make the anxiety go away and — looking
     back, it’s kind of a blur, it was obviously a problem. So,
     yeah, the group meetings address that.
Jorgenson also addressed his failure to repay client funds and
indicated he intends to do so.
           R eferee’s R eport and R ecommendation
  After the hearing, the referee issued a report and recom-
mendation. The report first noted that any delay in Jorgenson’s
                                     - 195 -
                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
               STATE EX REL. COUNSEL FOR DIS. v. JORGENSON
                             Cite as 302 Neb. 188
finding out about his administrative suspension was likely
due, in part, to having failed in his obligation under Neb. Ct.
R. § 3-803(C) (rev. 2019) to notify the court of any change
in address, telephone number, or email. The report also noted
Jorgenson’s testimony that he had knowledge of the suspension
prior to a call with the Counsel for Discipline which occurred
before July 6, 2017, meant such knowledge would have pre-
dated his filing of pleadings under count I, the sentencing
hearing scheduled in count II, and the hearing scheduled in
count IV.
   The referee’s report analyzed the seriousness of Jorgenson’s
offenses, the history of his previous violations, the needs of
his clients, and the effect on the reputation of the bar. The
report found the sole mitigating factor which can be recognized
was Jorgenson’s remorse during the hearing. While the report
discussed Jorgenson’s experience with depression and abuse
of alcohol, it determined that there was insufficient evidence
in the record to support the use of such issues for mitiga-
tion purposes.
   In consideration of such analysis and after comparing these
facts to previous, similar disciplinary cases, the report recom-
mended disbarment.
   The only question before this court is the appropriate
discipline.
                   STANDARD OF REVIEW
   [1] Because attorney discipline cases are original proceed-
ings before this court, we review a referee’s recommendations
de novo on the record, reaching a conclusion independent of
the referee’s findings.5
                          ANALYSIS
   [2] The basic issues in a disciplinary proceeding against an
attorney are whether discipline should be imposed and, if so,

 5	
      State ex rel. Counsel for Dis. v. Trembly, 300 Neb. 195, 912 N.W.2d 764      (2018).
                                   - 196 -
               Nebraska Supreme Court A dvance Sheets
                       302 Nebraska R eports
               STATE EX REL. COUNSEL FOR DIS. v. JORGENSON
                             Cite as 302 Neb. 188
the appropriate discipline evaluated under the particular facts
and circumstances of the case.6 Because Jorgenson admit-
ted the allegations contained within the formal charges and
because violations of the disciplinary rules concerning the
practice of law are grounds for discipline,7 we find discipline
should be imposed and now turn to the question of the appro-
priate sanction.
   [3,4] Under Neb. Ct. R. § 3-304, this court may impose one
or more of the following disciplinary sanctions: disbarment;
suspension; probation in lieu of or subsequent to suspension,
on such terms as the court may designate; censure and rep-
rimand; or temporary suspension. To determine whether and
to what extent discipline should be imposed in an attorney
discipline proceeding, we consider the following factors: (1)
the nature of the offense, (2) the need for deterring others, (3)
the maintenance of the reputation of the bar as a whole, (4)
the protection of the public, (5) the attitude of the respondent
generally, and (6) the respondent’s present or future fitness to
continue in the practice of law.8 For purposes of determining
the proper discipline of an attorney, we consider the attorney’s
actions both underlying the events of the case and through-
out the proceeding, as well as any aggravating or mitigat-
ing factors.9
   [5] This matter represents the third disciplinary case in
Nebraska to which Jorgenson has been a party. A court has
the right to examine its own records and take judicial notice
of its own proceedings and judgments in a former action.10
Thus, in addition to the current formal charges, in our de
novo review, we consider the relevant facts from Jorgenson’s

 6	
      Id.
 7	
      See id.
 8	
      Id.
 9	
      Id.
10	
      State ex rel. Counsel for Dis. v. Gast, 298 Neb. 203, 903 N.W.2d 259      (2017).
                                      - 197 -
                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
                STATE EX REL. COUNSEL FOR DIS. v. JORGENSON
                              Cite as 302 Neb. 188
previous disciplinary proceedings as well as the aggravating
nature of his previous disciplinary offenses.11
   [6] The facts alleged in the formal charges of this case
and admitted to by Jorgenson display an ongoing neglect
of Jorgenson’s duties to his clients and the judiciary. After
admitting he received notice that he was administratively
suspended, Jorgenson continued to practice law in violation
of the suspension, failed to adequately notify clients that he
could no longer represent them, failed to assist clients in
obtaining new representation, failed to return client funds and
provide an accounting thereof, held himself out as a member
of a law firm in emails, and made filings on behalf of clients
in court. On two specific occasions, under counts II and IV,
Jorgenson failed to attend hearings which had been scheduled
in his clients’ cases. Under count III, he notified his client of
the suspension through a simple text message the day of the
client’s sentencing hearing, with inadequate time to obtain
new representation, and under count IV, he completely failed
to inform his client of the suspension. Such lack of com-
munication and his continuance to act as a licensed attorney
put his clients at a disadvantage in their cases and prevented
them from obtaining alternative representation or making other
arrangements to address their legal needs. We have generally,
but not always, disbarred attorneys who continue to practice
law despite their suspensions.12
   [7,8] In addition, Jorgenson has repeatedly failed to coop-
erate with the Counsel for Discipline. Repeatedly ignoring
requests for information from the Counsel for Discipline indi-
cates a disrespect for our disciplinary jurisdiction and a lack
of concern for the protection of the public, the profession, and

11	
      See id.12	
      See, e.g., State ex rel. Counsel for Dis. v. Walocha, 283 Neb. 474, 811
      N.W.2d 174 (2012); State ex rel. Counsel for Dis. v. Carbullido, 278 Neb.
      721, 773 N.W.2d 141 (2009). But see State ex rel. Counsel for Dis. v.
      Frye, 278 Neb. 527, 771 N.W.2d 571 (2009).
                                     - 198 -
                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
               STATE EX REL. COUNSEL FOR DIS. v. JORGENSON
                             Cite as 302 Neb. 188
the administration of justice.13 We consider an attorney’s fail-
ure to respond to inquiries and requests for information from
the Counsel for Discipline as an important matter and as a
threat to the credibility of attorney disciplinary proceedings.14
   [9,10] As demonstrated by the admitted facts and the two
previous disciplinary cases and administrative suspension,
Jorgenson has a history of violating disciplinary rules and a
history of failing to communicate with clients, courts, and
the Counsel for Discipline. As we explained in Jorgenson’s
2018 disciplinary case, this history represents a pattern of
noncompliance with our disciplinary rules, and cumulative
acts of attorney misconduct are distinguishable from iso-
lated incidents, therefore justifying more serious sanctions.15
Cumulative acts of attorney misconduct can, and often do, lead
to disbarment.16
   [11] We note Jorgenson appeared remorseful during the
hearing before the referee and displayed a hope to improve his
condition. Such remorse is a mitigating factor when consider-
ing the appropriate sanction.17 However, Jorgenson also admits
that at present, he is unfit for the practice of law.
   [12,13] We also note Jorgenson testified to depression and
alcohol abuse issues arising from his participation in a large
criminal trial, his move to Illinois, and marital discord. To
establish depression as a mitigating factor, Jorgenson was
required to show (1) medical evidence that he is affected by
depression, (2) that depression was a direct and substantial
contributing cause to the misconduct, and (3) that treatment
of the depression will substantially reduce the risk of further

13	
      See Gast, supra note 10.
14	
      See State ex rel. Counsel for Dis. v. Wickenkamp, 277 Neb. 16, 759
      N.W.2d 492 (2009).
15	
      See Jorgenson, supra note 2.
16	
      State ex rel. Counsel for Dis. v. Switzer, 280 Neb. 815, 790 N.W.2d 433      (2010).
17	
      Id.                                     - 199 -
                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
               STATE EX REL. COUNSEL FOR DIS. v. JORGENSON
                             Cite as 302 Neb. 188
misconduct.18 We have previously applied the issue of sub-
stance abuse as a mitigating factor only after the attorney
presented evidence that he or she has acknowledged the condi-
tion, voluntarily sought treatment, and terminated use of the
substance.19 Specifically, in State ex rel. NSBA v. Pullen,20 we
considered the attorney’s substance abuse as a mitigating fac-
tor after the attorney presented evidence that he had entered
into a contract with the monitoring program of the Nebraska
Lawyers Assistance Program whereby he agreed to that pro-
gram’s monitoring of his recovery from alcohol addiction.
   Jorgenson did not present any evidence beyond his own
testimony that he had depression and alcohol abuse issues and
that he participated in group meetings. There was no medical
evidence presented that Jorgenson suffered from depression,
and there was no evidence presented that the depression was a
direct and substantial contributing cause of his misconduct and
that its treatment would substantially reduce the risk of further
misconduct. Similarly, Jorgenson did not present any support-
ing evidence to establish that his use of alcohol was a direct
and substantial contributing cause of his misconduct and that
he is participating in treatment and ceased abusing alcohol so
as not to make it an issue going forward.
   [14] The purpose of a disciplinary proceeding against an
attorney is not so much to punish the attorney as it is to deter-
mine whether it is in the public interest that an attorney be
permitted to practice, which question includes considerations
of the protection of the public.21 Because Jorgenson did not
provide adequate evidence of his depression and substance
abuse issues and offered no evidence that the treatment of his
alleged conditions is sufficient to protect the public, we do not

18	
      State ex rel. Counsel for Dis. v. Thompson, 264 Neb. 831, 652 N.W.2d 593      (2002).
19	
      See State ex rel. NSBA v. Pullen, 260 Neb. 125, 615 N.W.2d 474 (2000).
20	
      Id.21	
      See, Switzer, supra note 16; Pullen, supra note 19.
                                    - 200 -
                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
               STATE EX REL. COUNSEL FOR DIS. v. JORGENSON
                             Cite as 302 Neb. 188
consider these conditions as mitigating factors in deciding the
appropriate sanction.
   [15] The propriety of a sanction must be considered with
reference to the sanctions imposed in prior similar cases.22
The present action is similar to our opinions in State ex rel.
Counsel for Dis. v. Carbullido23 and State ex rel. Counsel for
Dis. v. Switzer.24
   In Carbullido, the attorney had been a party to previous
disciplinary actions, engaged in the unauthorized practice of
law after her license was suspended, and was convicted of sev-
eral driving under the influence and driving with a suspended
license offenses. The attorney failed to respond to requests for
information from the Counsel for Discipline, failed to respond
to the formal charges, and failed to file a brief with this court.
Noting the cumulative nature of her offenses, her disregard for
previous suspensions, and her nonparticipation with the disci-
plinary proceedings, we disbarred the attorney.25
   Similarly, in Switzer, the attorney continued to practice law
after being suspended for an earlier violation. The attorney had
been a party to previous disciplinary actions. During his hear-
ing, the attorney appeared remorseful and explained that part of
the cause of his misconduct extended from issues with depres-
sion. Although we accepted, “for the sake of argument,” the
attorney’s depression as having satisfied the test for establish-
ing depression as a mitigating factor, we nonetheless disbarred
him.26 In doing so, we stated:
      We previously suspended [the attorney], but he contin-
      ued to practice, flouting our previous ruling. A suspen-
      sion order is a command, not a suggestion. The offenses

22	
      See id.23	
      Carbullido, supra note 12.
24	
      Switzer, supra note 16.
25	
      Carbullido, supra note 12.
26	
      See Switzer, supra note 16, 280 Neb. at 824, 790 N.W.2d at 441, citing
      Thompson, supra note 18.
                                       - 201 -
                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
               STATE EX REL. COUNSEL FOR DIS. v. JORGENSON
                             Cite as 302 Neb. 188
      admitted are serious, and the need to deter others from
      this type of conduct weighs heavily. If attorneys ignore
      our suspension orders without consequence, it undermines
      the authority of this court.27
   The reasoning used in these cases is applicable here.
Jorgenson’s violations undermine the public’s confidence in
the bar and its members to be dependable and capable in the
representation of clients, to provide competent legal advice,
and to participate in a judicial system reliant upon respect for
the law. Moreover, these violations harm clients by failing
to provide adequate representation and advice, leaving those
clients without the opportunity to obtain competent representa-
tion, failing to use funds for the purposes for which the clients
provided them, and failing to account for those funds. These
issues are compounded when considering them in conjunction
with Jorgenson’s previous violations. We determine that the
only appropriate discipline is disbarment.
                         CONCLUSION
   We adopt the referee’s recommendation. We find that
Jorgenson violated his oath of office as an attorney and § 3-316
of the disciplinary rules and §§ 3-501.4, 3-501.16, 3-505.5,
3-508.1, and 3-508.4 of the rules of professional conduct. It
is the judgment of this court that Jorgenson be disbarred from
the practice of law in the State of Nebraska effective immedi-
ately. Jorgenson is directed to comply with § 3-316, and upon
failure to do so, he shall be subject to punishment for contempt
of this court. Jorgenson is further directed to pay costs and
expenses in accordance with Neb. Rev. Stat. §§ 7-114 and
7-115 (Reissue 2012) and Neb. Ct. R. §§ 3-310(P) (rev. 2014)
and 3-323 within 60 days after an order imposing costs and
expenses, if any, is entered by the court.
                                       Judgment of disbarment.

27	
      Id. at 825, 790 N.W.2d at 441.
